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TN THE UNITED STATES DISTRICT COURT mo BY U¢Q@/ no
FOR THE WESTERN DISTRlCT OF TENNESSEE "' w l

HARDWOOD MARKETING REPORT, ]H-)WS M GUHD
UJZRK. U.S. NST?GCT COURT
Plaintiff, W/D GF lt ivi§ivl?i‘ll$
v_ No. 05-2131 B

HARDWOOD PUBLlSHlNG, INC.,

Defendant.

 

ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE DISMISSED

 

Plaintiff, Hardwood Marketing Report, filed this action on February 15, 2005. To date, the
Court has received no notification that a summons has been issued or service has been made on the
Defendant. According to Rule 4(m) of the Federal Rules Of Civil Procedure,

[i]f service of the summons and complaint is not made upon a defendant within IZO

days after the filing of the complaint, the court, . . . on its own initiative after notice

to the plaintiff, shall dismiss the action without prejudice as to that defendant or

direct that service be effected within a specified time . . .
Fed. R. Civ. P. 4(m). As the 120-day period has passed, the Plaintiffis hereby ORDER_ED to show
cause, within eleven (l l) days ofthe entry hereof, why this action should not be dismissed for failure

to effect service on the Defendant. Failure to respond within the time period permitted herein will

result in dismissal without prejudice of the complaint

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rr rs so oRDERED this 5 day OfJu y, 2005.

J_ D E:NIEL BREEN \
<rm ED sTATEs DrsTRICT JUDGE

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Tbis document entered on the d a
with Fiu|e 58 and/or 79(3] FHCP on

 

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Honorable .1. Breen
US DISTRICT COURT

